                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF PENNSYLVANIA,

         Plaintiff,

         v.
                                                             Civil No. 17-CV-4540-WB

 DONALD J. TRUMP, et al.

         Defendants,

 LITTLE SISTERS OF THE POOR SAINTS
 PETER AND PAUL HOME,

         Proposed Defendant-Intervenor.


                             PROTECTIVE NOTICE OF APPEAL

   Notice is hereby given that the Little Sisters of the Poor Saints Peter and Paul Home (the “Little

Sisters”), Proposed Defendant-Intervenor in the above-captioned case, hereby appeals to the

United States Court of Appeals for the Third Circuit from the Court’s Order (ECF Nos. 59 and 60)

granting Plaintiff’s request for a preliminary injunction, entered in this action on December 15,

2017. The Little Sisters file this protective notice in order to protect their rights in the event that

intervention is granted after the time for appeal has expired.



Dated: December 15, 2017                       Respectfully submitted,

                                               /s/ Mark Rienzi
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                               CERTIFICATE OF SERVICE

  I hereby certify that a copy of the foregoing document was electronically filed with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

Dated: December 15, 2017

                                             /s/ Mark Rienzi
                                            Mark Rienzi




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